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 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      DEONDRE RAGLIN,                            Case No.:
11
                   Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                               RELIEF AND DAMAGES FOR
            vs.                                  VIOLATION OF:
13
                                                 1. AMERICANS WITH DISABILITIES
14    COMPTON PARTNERS, LLC; and DOES            ACT, 42 U.S.C. §12131 et seq.;
15    1 to 10,                                   2. CALIFORNIA’S UNRUH CIVIL
                   Defendants.                   RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                               52 et seq.;
17                                               3. CALIFORNIA’S DISABLED
                                                 PERSONS ACT, CAL CIV. CODE §54 et
18                                               seq.
19                                               4. CALIFORNIA’S UNFAIR
                                                 COMPETITION ACT, CAL BUS & PROF
20                                               CODE § 17200, et seq.
21                                               5. NEGLIGENCE
22
23
24
            Plaintiff DEONDRE RAGLIN (“Plaintiff”) complains of Defendants COMPTON
      PARTNERS, LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:
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                                    COMPLAINT FOR DAMAGES - 1
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 1                                  JURISDICTION AND VENUE
 2          1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3    violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4          2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5    arising from the same nucleus of operating facts, are also brought under California law,
 6    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7    54, 54., 54.3 and 55.
 8          3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9    property which is the subject of this action is located in this district, Los Angeles County,
10    California, and Plaintiff’s causes of actions arose in this district.
11                                              PARTIES
12          4.     Plaintiff is a California resident with a physical disability with substantial
13    limitation in his ability to walk. Plaintiff suffers from paraplegia due to T8 spinal cord
14    injury and requires the use of a wheelchair at all times when traveling in public.
15          5.     Defendants are, or were at the time of the incident, the real property owners,
16    business operators, lessors and/or lessees of the real property for a barber shop
17    (“Business”) located at or about 623 S. Long Beach Blvd., Compton, California.
18          6.     The true names and capacities, whether individual, corporate, associate or
19    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
20    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
21    Court to amend this Complaint when the true names and capacities have been
22    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
23    fictitiously named Defendants are responsible in some manner, and therefore, liable to
24    Plaintiff for the acts herein alleged.
25          7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
26    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
27    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
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                                     COMPLAINT FOR DAMAGES - 2
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 1    the things alleged herein was acting with the knowledge and consent of the other
 2    Defendants and within the course and scope of such agency or employment relationship.
 3          8.     Whenever and wherever reference is made in this Complaint to any act or
 4    failure to act by a defendant or Defendants, such allegations and references shall also be
 5    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6    and severally.
 7                                  FACTUAL ALLEGATIONS
 8          9.     In or about March of 2022, Plaintiff went to the Business. The Business is a
 9    barber shop business establishment, which is open to the public, and is a place of public
10    accommodation and affects commerce through its operation. Defendants provide parking
11    spaces for customers.
12          10.    While attempting to enter the Business during each visit, Plaintiff personally
13    encountered a number of barriers that interfered with his ability to use and enjoy the
14    goods, services, privileges, and accommodations offered at the Business. To the extent
15    of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
16    limited to, the following:
17                 a.     Defendants failed to comply with the federal and state standards for
18                        the parking space designated for persons with disabilities. Defendants
19                        failed to provide the parking space identification sign with the
20                        International Symbol of Accessibility.
21                 b.     Defendants failed to comply with the federal and state standards for
22                        the parking space designated for persons with disabilities. Defendants
23                        failed to post required signage such as “Van Accessible” and
24                        “Minimum Fine $250.”
25          11.    These barriers and conditions denied Plaintiff the full and equal access to the
26    Business. Plaintiff wishes to patronize the Business again. However, Plaintiff is deterred
27    from visiting the Business because his knowledge of these violations prevents him from
28    returning until the barriers are removed.



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 1          12.    Based on the violations, Plaintiff alleges, on information and belief, that
 2    there are additional barriers to accessibility at the Business after further site inspection.
 3    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 4    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 5          13.    In addition, Plaintiff alleges, on information and belief, that Defendants
 6    knew that particular barriers render the Business inaccessible, violate state and federal
 7    law, and interfere with access for the physically disabled.
 8          14.    At all relevant times, Defendants had and still have control and dominion
 9    over the conditions at this location and had and still have the financial resources to
10    remove these barriers without much difficulty or expenses to make the Business
11    accessible to the physically disabled in compliance with ADDAG and Title 24
12    regulations. Defendants have not removed such barriers and have not modified the
13    Business to conform to accessibility regulations.
14                                    FIRST CAUSE OF ACTION
15        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
16          15.    Plaintiff incorporates by reference each of the allegations in all prior
17    paragraphs in this complaint.
18          16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
19    shall be discriminated against on the basis of disability in the full and equal enjoyment of
20    the goods, services, facilities, privileges, advantages, or accommodations of any place of
21    public accommodation by any person who owns, leases, or leases to, or operates a place
22    of public accommodation. See 42 U.S.C. § 12182(a).
23          17.    Discrimination, inter alia, includes:
24                 a.     A failure to make reasonable modification in policies, practices, or
25                        procedures, when such modifications are necessary to afford such
26                        goods, services, facilities, privileges, advantages, or accommodations
27                        to individuals with disabilities, unless the entity can demonstrate that
28                        making such modifications would fundamentally alter the nature of



                                      COMPLAINT FOR DAMAGES - 4
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 1                     such goods, services, facilities, privileges, advantages, or
 2                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3               b.    A failure to take such steps as may be necessary to ensure that no
 4                     individual with a disability is excluded, denied services, segregated or
 5                     otherwise treated differently than other individuals because of the
 6                     absence of auxiliary aids and services, unless the entity can
 7                     demonstrate that taking such steps would fundamentally alter the
 8                     nature of the good, service, facility, privilege, advantage, or
 9                     accommodation being offered or would result in an undue burden. 42
10                     U.S.C. § 12182(b)(2)(A)(iii).
11               c.    A failure to remove architectural barriers, and communication barriers
12                     that are structural in nature, in existing facilities, and transportation
13                     barriers in existing vehicles and rail passenger cars used by an
14                     establishment for transporting individuals (not including barriers that
15                     can only be removed through the retrofitting of vehicles or rail
16                     passenger cars by the installation of a hydraulic or other lift), where
17                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
18               d.    A failure to make alterations in such a manner that, to the maximum
19                     extent feasible, the altered portions of the facility are readily
20                     accessible to and usable by individuals with disabilities, including
21                     individuals who use wheelchairs or to ensure that, to the maximum
22                     extent feasible, the path of travel to the altered area and the
23                     bathrooms, telephones, and drinking fountains serving the altered
24                     area, are readily accessible to and usable by individuals with
25                     disabilities where such alterations to the path or travel or the
26                     bathrooms, telephones, and drinking fountains serving the altered
27                     area are not disproportionate to the overall alterations in terms of cost
28                     and scope. 42 U.S.C. § 12183(a)(2).



                                 COMPLAINT FOR DAMAGES - 5
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 1          18.    Where parking spaces are provided, accessible parking spaces shall be
 2    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 3    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 4    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 5    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 6    be van parking space. 2010 ADA Standards § 208.2.4.
 7          19.    Under the ADA, the method and color of marking are to be addressed by
 8    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 9    Building Code (“CBC”), the parking space identification signs shall include the
10    International Symbol of Accessibility. Parking identification signs shall be reflectorized
11    with a minimum area of 70 square inches. Additional language or an additional sign
12    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
13    parking space identification sign shall be permanently posted immediately adjacent and
14    visible from each parking space, shall be located with its centerline a maximum of 12
15    inches from the centerline of the parking space and may be posted on a wall at the
16    interior end of the parking space. See CBC § 11B-502.6, et seq.
17          20.    Moreover, an additional sign shall be posted either in a conspicuous place at
18    each entrance to an off-street parking facility or immediately adjacent to on-site
19    accessible parking and visible from each parking space. The additional sign shall not be
20    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
21    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
22    designated accessible spaces not displaying distinguishing placards or special license
23    plates issued for persons with disabilities will be towed always at the owner’s expense…”
24    See CBC § 11B-502.8, et seq.
25          21.    Here, Defendants failed to provide the parking space identification sign with
26    the International Symbol of Accessibility. In addition, Defendants failed to provide signs
27    stating “Minimum Fine $250” and “Van Accessible.”
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                                    COMPLAINT FOR DAMAGES - 6
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 1          22.    A public accommodation shall maintain in operable working condition those
 2    features of facilities and equipment that are required to be readily accessible to and usable
 3    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
 4    maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
 5    violation of Plaintiff’s rights under the ADA and its related regulations.
 6          23.    The Business has denied and continues to deny full and equal access to
 7    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 8    discriminated against due to the lack of accessible facilities, and therefore, seeks
 9    injunctive relief to alter facilities to make such facilities readily accessible to and usable
10    by individuals with disabilities.
11                                 SECOND CAUSE OF ACTION
12                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
13          24.    Plaintiff incorporates by reference each of the allegations in all prior
14    paragraphs in this complaint.
15          25.    California Civil Code § 51 states, “All persons within the jurisdiction of this
16    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
17    national origin, disability, medical condition, genetic information, marital status, sexual
18    orientation, citizenship, primary language, or immigration status are entitled to the full
19    and equal accommodations, advantages, facilities, privileges, or services in all business
20    establishments of every kind whatsoever.”
21          26.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
22    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
23    for each and every offense for the actual damages, and any amount that may be
24    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
25    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
26    attorney’s fees that may be determined by the court in addition thereto, suffered by any
27    person denied the rights provided in Section 51, 51.5, or 51.6.
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                                      COMPLAINT FOR DAMAGES - 7
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 1          27.    California Civil Code § 51(f) specifies, “a violation of the right of any
 2    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 3    shall also constitute a violation of this section.”
 4          28.    The actions and omissions of Defendants alleged herein constitute a denial
 5    of full and equal accommodation, advantages, facilities, privileges, or services by
 6    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 7    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 8    51 and 52.
 9          29.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
10    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
11    damages as specified in California Civil Code §55.56(a)-(c).
12                                   THIRD CAUSE OF ACTION
13                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
14          30.    Plaintiff incorporates by reference each of the allegations in all prior
15    paragraphs in this complaint.
16          31.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
17    entitled to full and equal access, as other members of the general public, to
18    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
19    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
20    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
21    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
22    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
23    places of public accommodations, amusement, or resort, and other places in which the
24    general public is invited, subject only to the conditions and limitations established by
25    law, or state or federal regulation, and applicable alike to all persons.
26          32.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
27    corporation who denies or interferes with admittance to or enjoyment of public facilities
28    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an



                                      COMPLAINT FOR DAMAGES - 8
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 1    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 2    the actual damages, and any amount as may be determined by a jury, or a court sitting
 3    without a jury, up to a maximum of three times the amount of actual damages but in no
 4    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 5    determined by the court in addition thereto, suffered by any person denied the rights
 6    provided in Section 54, 54.1, and 54.2.
 7           33.   California Civil Code § 54(d) specifies, “a violation of the right of an
 8    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 9    constitute a violation of this section, and nothing in this section shall be construed to limit
10    the access of any person in violation of that act.
11           34.   The actions and omissions of Defendants alleged herein constitute a denial
12    of full and equal accommodation, advantages, and facilities by physically disabled
13    persons within the meaning of California Civil Code § 54. Defendants have
14    discriminated against Plaintiff in violation of California Civil Code § 54.
15           35.   The violations of the California Disabled Persons Act caused Plaintiff to
16    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
17    statutory damages as specified in California Civil Code §55.56(a)-(c).
18                                 FOURTH CAUSE OF ACTION
19                                 UNFAIR COMPETITION ACT
20           36.   Plaintiff incorporates by reference each of the allegations in all prior
21    paragraphs in this complaint.
22           37.   Defendants have engaged in unfair competition, unfair or fraudulent
23    business practices, and unfair, deceptive, untrue or misleading advertising in violation of
24    the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
25           38.   Defendants engage in business practices and policies that create systemic
26    barriers to full and equal access for people with disability in violation of state and federal
27    law.
28




                                      COMPLAINT FOR DAMAGES - 9
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 1            39.    The actions and omissions of Defendants are unfair and injurious to
 2     Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
 3     unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
 4     provided with goods and services provided to other consumers. Plaintiff seeks relief
 5     necessary to prevent Defendants’ continued unfair business practices and policies and
 6     restitution of any month that Defendants acquired by means of such unfair competition,
 7     including profits unfairly obtained.
 8                                     FIFTH CAUSE OF ACTION
 9                                            NEGLIGENCE
10            40.    Plaintiff incorporates by reference each of the allegations in all prior
11     paragraphs in this complaint.
12            41.    Defendants have a general duty and a duty under the ADA, Unruh Civil
13     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
14     to the Plaintiff.
15            42.    Defendants breached their duty of care by violating the provisions of ADA,
16     Unruh Civil Rights Act and California Disabled Persons Act.
17            43.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
18     has suffered damages.
19                                       PRAYER FOR RELIEF
20            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
21     Defendants as follows:
22            1.     For preliminary and permanent injunction directing Defendants to comply
23     with the Americans with Disability Act and the Unruh Civil Rights Act;
24            2.     Award of all appropriate damages, including but not limited to statutory
25     damages, general damages and treble damages in amounts, according to proof;
26            3.     Award of all reasonable restitution for Defendants’ unfair competition
27     practices;
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                                     COMPLAINT FOR DAMAGES - 10
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 1           4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 2     action;
 3           5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 4           6.     Such other and further relief as the Court deems just and proper.
 5                                DEMAND FOR TRIAL BY JURY
 6           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 7     demands a trial by jury on all issues so triable.
 8
 9     Dated: May 31, 2022                     SO. CAL. EQUAL ACCESS GROUP
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12                                             By:   _/s/ Jason J. Kim_____________
                                                     Jason J. Kim, Esq.
13                                             Attorneys for Plaintiff
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                                     COMPLAINT FOR DAMAGES - 11
